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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                  Case Nos.:      3:11cr105/RV/EMT
                                                                     3:14cv319/RV/EMT
GABINO ORTIZ, JR.,
      Reg. No. 21236-017
_____________________________________/

                            REPORT AND RECOMMENDATION
        This cause is before the court upon referral from the clerk. Defendant commenced this action
by filing a motion to vacate under 28 U.S.C. § 2255 (doc. 115). Defendant subsequently amended
his motion to vacate (doc. 120). On September 26, 2014, Defendant was given thirty (30) days in
which to file a second amended motion to vacate (doc. 121). Defendant failed to comply with the
order; therefore, on November 4, 2014, the court issued an order requiring Defendant to show cause,
within twenty-one (21) days, why this action should not be dismissed for failure to comply with an
order of the court (doc. 125). The time for compliance with the show cause order has now elapsed
with no response from Defendant, and Defendant has not filed a second amended motion to vacate.
        Accordingly, it is respectfully RECOMMENDED:
        That this case be DISMISSED without prejudice for Defendant’s failure to comply with
an order of the court.
        At Pensacola, Florida, this 12th day of December 2014.

                                              /s/ Elizabeth M. Timothy
                                              ELIZABETH M. TIMOTHY
                                              CHIEF UNITED STATES MAGISTRATE JUDGE

                                  NOTICE TO THE PARTIES

       Any objections to these proposed findings and recommendations must be filed within
fourteen (14) days after being served a copy thereof. Any different deadline that may appear
on the electronic docket is for the court’s internal use only, and does not control. A copy of
objections shall be served upon all other parties. Failure to object may limit the scope of
appellate review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d
698, 701 (11th Cir. 1988).
